Case 4:25-cv-00211-MW-MAF   Document 147-5   Filed 05/27/25   Page 1 of 24




                     EXHIBIT 5
     Case 4:25-cv-00211-MW-MAF            Document 147-5     Filed 05/27/25   Page 2 of 24




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

    FLORIDA DECIDES HEALTHCARE,
    INC., et al.,
                          Plaintiffs,

           v.                                         No. 4:25-cv-211-MW-MAF

    CORD BYRD, in his official capacity as
    Florida Secretary of State, et al.,
                                        Defendants,

    REPUBLICAN PARTY OF FLORIDA,
              Proposed Intervenor-Defendant.

[PROPOSED] ANSWER TO FLORIDARIGHTTOCLEANWATER.ORG ’S
     COMPLAINT BY THE REPUBLICAN PARTY OF FLORIDA

          Intervenor Defendant the Republican Party of Florida (“RPOF”) now answers

Intervenor-Plaintiffs FloridaRighttoCleanWater.org and Melissa Martin’s (collectively,

“Intervenor-Plaintiffs”) Complaint (ECF No. 116). Unless expressly admitted below,

every allegation of the Complaint is denied. Accordingly, RPOF states:

                                      INTRODUCTION1

          1.     The Florida Constitution speaks for itself. Otherwise denied.

          2.     Denied.



1
  Throughout their Complaint, Intervenor-Plaintiffs include a number of headings that
make unproven and untrue factual allegations. To the extent Intervenor-Plaintiffs
intend any of their headings to serve as substantive allegations that require a response,
they are denied. RPOF includes the headings herein solely for ease of reference in this
Answer.
    Case 4:25-cv-00211-MW-MAF        Document 147-5     Filed 05/27/25     Page 3 of 24




       3.       Denied.

       4.       Without knowledge and therefore denied.

       5.       Admit that HB 12052 speaks for itself. Otherwise denied.

       6.       Denied.

       7.       Denied.

                           JURISDICTION AND VENUE

       8.       Admit that Intervenor-Plaintiffs have filed this action pursuant to 42

U.S.C. §§ 1983 and 1988 and 28 U.S.C. §§ 1331 and 1343 but deny that Intervenor-

Plaintiffs have any valid claims under these laws.

       9.       Admit that Intervenor-Plaintiffs have filed this action pursuant to 28

U.S.C. §§ 2201 and 2202 but denied that Intervenor-Plaintiffs have any valid claim

under these laws.

       10.      Without knowledge and therefore denied.

       11.      Without knowledge and therefore denied.

       12.      Without knowledge and therefore denied.

                                       PARTIES

A. Plaintiffs

       13.      Admit that FloridaRighttoCleanWater.org (“RTCW”) submitted a



2
  Although the Complaint refers throughout to “HB 1205,” Proposed Intervenor-
Defendants interpret this to mean the final version of the bill that passed and was signed
into law, which was Committee Substitute for House Bill 1205 or “CS/HB 1205.”
                                            2
  Case 4:25-cv-00211-MW-MAF        Document 147-5    Filed 05/27/25   Page 4 of 24




proposed constitutional amendment to the Florida Division of Elections in 2024 titled

“Right to Clean and Healthy Waters,” Amendment Serial No. 24-03, and otherwise

denied.

      14.    Admit that Proposed Amendment Serial No. 24-03 speaks for itself.

Otherwise denied.

      15.    Admit that the ballot summary for Proposed Amendment Serial No. 24-

03 speaks for itself. Otherwise denied.

      16.    Admit that Florida law speaks for itself. Otherwise without knowledge

and therefore denied.

      17.    Without knowledge and therefore denied.

      18.    Without knowledge and therefore denied.

      19.    Without knowledge and therefore denied.

      20.    Without knowledge and therefore denied.

      21.    Without knowledge as to RTCW’s personnel and operations and therefore

denied. Otherwise denied.

      22.    Without knowledge and therefore denied.

      23.    Without knowledge and therefore denied.

      24.    Without knowledge and therefore denied.

      25.    Without knowledge and therefore denied.

      26.    Without knowledge and therefore denied.

      27.    Without knowledge and therefore denied.
                                          3
  Case 4:25-cv-00211-MW-MAF          Document 147-5      Filed 05/27/25    Page 5 of 24




      28.    Without knowledge and therefore denied.

      29.    Without knowledge and therefore denied.

      30.    Without knowledge and therefore denied.

      31.    Without knowledge and therefore denied.

      32.    Without knowledge and therefore denied.

      33.    Without knowledge and therefore denied.

B. Defendants

      34.    Admit that Cord Byrd is the Secretary of State for Florida and that Florida

Statutes speak for themselves. Otherwise denied.

      35.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      36.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      37.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      38.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      39.    Admit that HB 1205 and the Florida Administrative Code speaks for itself.

Otherwise denied.

      40.    Admit that James Uthmeier is the Attorney General for Florida and that

his official responsibilities are set forth in Florida’s Constitution and Florida Statutes,

which speak for themselves. Otherwise denied.

      41.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      42.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      43.    Admit that Intervenor-Plaintiffs have named Supervisors of Elections in
                                            4
  Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25       Page 6 of 24




their official capacities as Defendants in this lawsuit. Otherwise denied.

      44.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      45.    Admit that Intervenor-Plaintiffs have named State Attorneys in their

official capacities as Defendants in this lawsuit. Otherwise denied.

      46.    Admit that the cited statutes speak for themselves. Otherwise denied.

                            FACTUAL ALLEGATIONS

   A. Floridians’ Right to Lawmaking through Ballot Initiative

      47.    Admit that the Florida Constitution and the cited case speak for

themselves. Otherwise denied.

      48.    Denied.

      49.    Denied.

      50.    Admit that the cited statutes speak for themselves. Otherwise denied.

      51.    Admit that the Florida Constitution and Florida law speaks for itself.

Otherwise without knowledge and therefore denied.

      52.    Admit that the cited statute speaks for itself. Otherwise denied.

      53.    Admit that the Florida Constitution and Florida Statutes speak for

themselves. Otherwise denied.

      54.    Admit that Florida Statutes (2022) speak for themselves. Otherwise

denied.

      55.    Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.
                                            5
  Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25    Page 7 of 24




      56.     Admit that the cited statute speaks for itself. Otherwise denied.

   B. H.B. 1205 Places a Variety of Undue Constrains on Ballot Initiative
      Sponsors and Supporters

      57.     Denied.

      58.     Denied.

      59.     Denied.

      60.     Denied.

      61.     Admit that HB 1205, Florida Statutes (2024), and the Florida

Administrative Code speak for themselves. Otherwise denied.

      62.     Admit that HB 1205 speaks for itself. Otherwise denied.

      63.     Admit that HB 1205 speaks for itself. Otherwise denied.

      64.     Admit that HB 1205and “current law” speak for themselves. Otherwise

denied.

      65.     Denied.

      66.     Denied.

      67.     Admit that HB 1205 speaks for itself. Otherwise denied.

            a. Prohibition on Individuals who Are Not United States Citizens from
                Collecting Signatures or Initiative Petitions (Non-U.S. Citizen
                Restriction)

      68.     Admit that HB 1205 speaks for itself. Otherwise denied.

      69.     Admit that HB 1205 speaks for itself. Otherwise denied.

      70.     Admit that Florida Statutes speak for themselves. Otherwise denied.

                                            6
  Case 4:25-cv-00211-MW-MAF         Document 147-5     Filed 05/27/25   Page 8 of 24




      71.      Admit that HB 1205 and Florida Statutes (2024) speak for themselves.

Without knowledge as to RTCW’s personnel and operations and therefore denied.

Otherwise denied.

            b. Prohibition on Individuals Who Are Not Residents of Florida from
               Collecting Signatures or Initiative Petitions (Non-Resident
               Restriction)

      72.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      73.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      74.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      75.      Admit that HB 1205 and Florida Statutes (2024) speak for themselves.

Otherwise denied.

            c. Petition Circulator’s Affidavit

      76.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      77.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      78.      Admit that HB 1205 and Florida Statutes (2022) speak for themselves.

Otherwise denied.

            d. Volunteer Petition Circulator Registration Requirement
                                            7
  Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25   Page 9 of 24




      79.      Admit that HB 1205 speaks for itself. Otherwise denied.

      80.      Admit that HB 1205, Florida Statutes, and Florida Statutes (2022) speak

for themselves. Otherwise denied.

      81.      Admit that HB 1205 speaks for itself. Otherwise denied.

      82.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      83.      Admit that HB 1205, Florida Statutes, and Florida Statutes (2022) speak

for themselves. Without knowledge as to the perceptions of RTCW’s volunteers and

therefore denied. Otherwise denied.

      84.      Denied.

            e. Personal Use Petition Restrictions

      85.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      86.      Admit that HB 1205 and Florida Statutes speak for themselves. Some of

the allegations in this paragraph are legal conclusions to which no response is required.

Otherwise denied.

      87.      Admit that HB 1205 and Florida Statutes speak for themselves. Some of

the allegations in this paragraph are legal conclusions to which no response is required.

Otherwise denied.

      88.      Admit that HB 1205 and Florida Statutes speak for themselves. Some of

                                           8
 Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25    Page 10 of 24




the allegations in this paragraph are legal conclusions to which no response is required.

Otherwise denied.

      89.      Without knowledge as to common practices of individuals who solicit

signatures for multiple campaigns and therefore denied. Admit that HB 1205 and

Florida Statutes speak for themselves. Otherwise denied.

      90.      Admit that HB 1205 and Florida Statutes speak for themselves. Some of

the allegations in this paragraph are legal conclusions to which no response is required.

Otherwise denied.

      91.      Admit that HB 1205 and Florida Statutes speak for themselves. Some of

the allegations in this paragraph are legal conclusions to which no response is required.

Otherwise denied.

      92.      Denied.

            f. Severe Fines on Sponsors

      93.      Admit that HB 1205 speaks for itself. Otherwise denied

      94.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      95.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

            a. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

               denied.

            b. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise
                                           9
 Case 4:25-cv-00211-MW-MAF         Document 147-5     Filed 05/27/25     Page 11 of 24




               denied.

            c. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

               denied.

      96.      Admit that HB 1205 speaks for itself. Otherwise denied.

      97.      Admit that HB 1205 speaks for itself. Otherwise denied.

      98.      Admit that HB 1205 speaks for itself. Otherwise denied.

      99.      Admit that HB 1205 speaks for itself. Otherwise denied.

      100. Without knowledge and therefore denied.

      101. Admit that HB 1205 speaks for itself. Otherwise denied.

      102. Admit that HB 1205 speaks for itself. Otherwise denied.

      103. Admit that HB 1205 speaks for itself. Otherwise denied.

      104. Admit that HB 1205 speaks for itself. Otherwise denied.

      105. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      106. Without knowledge as to RTCW’s operations and therefore denied.

Admit that HB 1205 speaks for itself. Otherwise denied.

            g. Arbitrarily Invalidated Petitions

      107. Admit that HB 1205 speaks for itself. Otherwise denied.

      108. Admit that HB 1205 speaks for itself. Otherwise denied.

      109. Admit that HB 1205 speaks for itself. Otherwise denied.

      110. Admit that the cited statute speaks for itself. Otherwise denied.
                                           10
 Case 4:25-cv-00211-MW-MAF          Document 147-5         Filed 05/27/25   Page 12 of 24




      111. Admit that HB 1205 speaks for itself. Otherwise denied.

   C. The Restrictions on Petition Activities in H.B. 1205, Collectively and
      Individually, Harm RTCW and its Volunteers

      112. Denied.

      113. Denied.

      114. Admit that HB 1205 and the cited case speak for themselves. Otherwise

denied.

      115. Without knowledge as to RTCW’s resources and therefore denied.

Otherwise denied.

      116. Without knowledge as to RTCW’s and its volunteers’ actions and

therefore denied. Otherwise denied.

      117. Denied.

          a. Non-U.S. Citizen Restriction

      118. Without knowledge and therefore denied.

      119. Admit that HB 1205 speaks for itself. Otherwise denied.

      120. Without knowledge as to RTCW’s operations and therefore denied.

Otherwise denied.

      121. Without knowledge and therefore denied.

      122. Without knowledge as to RTCW’s efforts and therefore denied. Admit

that the cited case speaks for itself. Otherwise denied.

      123. Without knowledge and therefore denied.

                                           11
 Case 4:25-cv-00211-MW-MAF        Document 147-5      Filed 05/27/25   Page 13 of 24




      124. Without knowledge and therefore denied.

      125. Without knowledge and therefore denied.

      126. Without knowledge and therefore denied.

      127. Without knowledge and therefore denied.

      128. Without knowledge and therefore denied.

      129. Admit that HB 1205 speaks for itself. Otherwise without knowledge and

therefore denied.

          b. Non-Resident Restriction

      130. Denied.

      131. Admit that HB 1205 speaks for itself. Without knowledge as to the

activities, travel, and residency of Intervenor-Plaintiff Melissa Martin and therefore

denied. Otherwise denied.

      132. Admit that HB 1205 speaks for itself. Without knowledge as to the

activities, travel, and intentions of Intervenor-Plaintiff Melissa Martin and therefore

denied. Otherwise denied.

          c. Petition Circulator’s Affidavit

      133. Denied.

      134. Without knowledge as to RTCW’s operations and therefore denied.

Admit that HB 1205 and Florida Statutes (2024) speak for themselves. Otherwise

denied.

      135. Without knowledge and therefore denied.
                                          12
 Case 4:25-cv-00211-MW-MAF       Document 147-5      Filed 05/27/25   Page 14 of 24




      136. Without knowledge and therefore denied.

      137. Admit that HB 1205 speaks for itself. Without knowledge as to RTCW’s

operations and therefore denied. Otherwise denied.

         d. Volunteer Petition Circulator Registration

      138. Admit that HB 1205 and Florida Statutes (2022) speak for themselves.

Otherwise without knowledge and therefore denied.

      139. Admit that HB 1205 speaks for itself. Otherwise denied.

      140. Admit that HB 1205 speaks for itself. Otherwise denied.

      141. Admit that HB 1205 speaks for itself. Otherwise denied.

      142. Without knowledge as to RTCW’s operations and therefore denied.

Admit that HB 1205 speaks for itself. Otherwise denied.

      143. Admit that HB 1205 speaks for itself. Otherwise denied.

      144. Denied.

         e. Personal Use Restrictions

      145. Denied.

      146. Without knowledge and therefore denied.

      147. Without knowledge as to RTCW and its volunteers’ understandings and

therefore denied.

      148. Admit that HB 1205 speaks for itself. Otherwise denied.

      149. Without knowledge as to RTCW’s training protocols and therefore

denied. Otherwise denied.
                                         13
 Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25    Page 15 of 24




          f. Severe Fines on Sponsors

      150. Denied.

      151. Without knowledge as to RTCW’s petition activities and therefore denied.

Otherwise denied.

      152. Without knowledge as to RTCW’s training protocols and therefore

denied. Otherwise denied.

      153. Admit that HB 1205 speaks for itself. Otherwise denied.

      154. Admit that HB 1205 speaks for itself. Otherwise denied.

      155. Admit that HB 1205 speaks for itself. Otherwise denied.

      156. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

      157. Admit that HB 1205 speaks for itself. Otherwise denied.

      158. Without knowledge as to RTCW’s beliefs and its volunteers’ actions and

therefore denied. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

          g. Arbitrarily Invalidated Petitions

      159. Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that the cited statute speaks for itself. Otherwise denied.

      160. Without knowledge as to the actions of RTCW’s volunteers and therefore

denied. Some allegations in this paragraph are legal conclusions to which no response

is required. Otherwise denied.
                                           14
 Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25    Page 16 of 24




      161. Admit that HB 1205 speaks for itself. Otherwise denied.

      162. Admit that HB 1205 speaks for itself. Otherwise denied.

      163. Admit that HB 1205 speaks for itself. Otherwise denied.

      164. Denied.

      165. Admit that the cited statute speaks for itself. Otherwise denied.

   D. H.B. 1205’s Restrictions are Not Appropriately Tailored to Any State
      Interest

      166. Admit that HB 1205 speaks for itself. Otherwise denied.

      167. Denied.

      168. Admit that the cited statutes and Division of Elections forms speak for

themselves. Some allegations in this paragraph are legal conclusions to which no

response is required. Admit that the cited statutes and authorities speak for themselves.

Otherwise denied.

      169. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

      170. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

                                       CLAIMS

                                     COUNT I
            Violation of the First and Fourteenth Amendments to the
                   United States Constitution, 42 U.S.C. § 1983
                     (Infringement of Core Political Speech)

      171. RPOF repeats and realleges each and every response contained in
                                           15
 Case 4:25-cv-00211-MW-MAF          Document 147-5     Filed 05/27/25   Page 17 of 24




paragraphs 1-170 as if fully set forth herein.

       172. Admit that the United States Constitution speaks for itself. Otherwise

denied.

       173. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

       174. Denied.

       175. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

       176. Without knowledge and therefore denied.

       177. The allegations in this paragraph are legal conclusions to which no

response is required.

       178. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

       179. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

       180. The allegations in this paragraph are legal conclusions to which no

response is required.

       181. Denied.

                                   COUNT II
    Violation of the First and Fourteenth Amendments to the United States
                          Constitution, 42 U.S.C. § 1983
                            (Substantial Overbreadth)

                                            16
 Case 4:25-cv-00211-MW-MAF         Document 147-5        Filed 05/27/25   Page 18 of 24




      182. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count II.

      183. Admit that the U.S. Constitution and the cited case speak for themselves.

Otherwise, the remaining allegations are legal conclusions to which no response is

required.

      184. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      185. Denied.

      186. Denied.

      187. Denied.

                                  COUNT III
    Violation of the First and Fourteenth Amendments to the United States
                          Constitution, 42 U.S.C. § 1983
                     (Infringement of Right to Association)

      188. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count III.

      189. Admit that the U.S. Constitution and the cited case speaks for itself.

Otherwise, the remaining allegations are legal conclusions to which no response is

required.

      190. Denied.

      191. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

                                           17
 Case 4:25-cv-00211-MW-MAF         Document 147-5       Filed 05/27/25   Page 19 of 24




      192. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

      193. The allegations in this paragraph are legal conclusions to which no

response is required.

      194. Denied.

                                 COUNT IV
Violation of the Equal Protection Clause of the Fourteenth Amendment to the
                  United States Constitution, 42 U.S.C. § 1983
                          (Equal Protection Clause)

      195. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count IV.

      196. Admit that the U.S. Constitution speaks for itself. Otherwise, the

remaining allegations are legal conclusions to which no response is required.

      197. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

      198. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      199. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      200. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      201. Denied.

                                          18
 Case 4:25-cv-00211-MW-MAF         Document 147-5      Filed 05/27/25   Page 20 of 24




      202. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      203. Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

      204. Denied.

                                 COUNT V
 Violation of the Fourteenth Amendment to the United States Constitution, 42
                                U.S.C. § 1983
        (Unconstitutionally Vague in Violation of Due Process Clause)

      205. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count V.

      206. Admit that the U.S. Constitution speaks for itself. Otherwise, the

remaining allegations are legal conclusions to which no response is required.

      207. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      208. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      209. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      210. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      211. Admit that the cited case speaks for itself. Otherwise, the remaining

                                          19
 Case 4:25-cv-00211-MW-MAF         Document 147-5       Filed 05/27/25   Page 21 of 24




allegations are legal conclusions to which no response is required.

      212. Denied.

      213. Denied.

      214. Denied.

                                 COUNT VI
   Violation of the Due Process Clause of the Fourteenth Amendment to the
                  United States Constitution, 42 U.S.C. § 1983
                          (Procedural Due Process)

      215. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count VI.

      216. Admit that the U.S. Constitution speaks for itself. Otherwise, the

remaining allegations are legal conclusions to which no response is required.

      217. Denied.

      218. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      219. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      220. Admit that the Florida Constitution and cited case speak for themselves.

Otherwise, the remaining allegations are legal conclusions to which no response is

required.

      221. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

                                          20
 Case 4:25-cv-00211-MW-MAF         Document 147-5        Filed 05/27/25   Page 22 of 24




      222. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      223. Denied.

      224. Denied.

      225. Denied.

                                 COUNT VII
   Violation of the Due Process Clause of the Fourteenth Amendment to the
                  United States Constitution, 42 U.S.C. § 1983
                          (Substantive Due Process)

      226. RPOF repeats, realleges, and incorporates its responses to Intervenor-

Plaintiffs’ allegations incorporated within Count III.

      227. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      228. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      229. Admit that HB 1205 speaks for itself. Otherwise denied.

      230. Admit that the cited statute speaks for itself. Otherwise denied.

      231. Denied.

      232. The allegations in this paragraph are legal conclusions to which no

response is required.

      233. Denied.

      234. Denied.

                                           21
 Case 4:25-cv-00211-MW-MAF          Document 147-5      Filed 05/27/25    Page 23 of 24




                               PRAYER FOR RELIEF

      WHEREFORE, RPOF denies that Intervenor-Plaintiffs are entitled to a

judgment in their favor or any relief:

      A.      RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief;

      B.      RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief;

      C.      RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief;

      D.      RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief;

      and

      E.      RPOF denies that Intervenor-Plaintiffs are entitled to the requested relief.

                            AFFIRMATIVE DEFENSES

      1.      The allegations in the complaint fail to state a claim upon which relief may

be granted.

      2.      By incorporating every prior allegation—including those found within

specific counts—into each of the complaint’s seven counts, the complaint is an

impermissible shotgun pleading.




                                           22
 Case 4:25-cv-00211-MW-MAF        Document 147-5     Filed 05/27/25      Page 24 of 24




 Dated: May 27, 2025                           Respectfully submitted,

                                               /s/ Benjamin J. Gibson
                                               Benjamin J. Gibson
                                               Fla. Bar No. 58661
                                               Daniel E. Nordby
                                               Fla. Bar No. 14588
                                               Tara R. Price
                                               Fla. Bar No. 98073
                                               Nicholas J.P. Meros
                                               Fla. Bar No. 120270
                                               Kassandra S. Reardon
                                               Fla. Bar No. 1033220
                                               SHUTTS & BOWEN LLP
                                               215 South Monroe Street, Suite 804
                                               Tallahassee, Florida 32301
                                               Tel: (850) 241-1717
                                               bgibson@shutts.com
                                               dnordby@shutts.com
                                               tprice@shutts.com
                                               nmeros@shutts.com
                                               kreardon@shutts.com
                                               chill@shutts.com

                                               Counsel for Proposed Intervenor-Defendant
                                                 Republican Party of Florida


                         CERTIFICATE OF SERVICE
      I hereby certify that on May 27, 2025, I electronically filed this document with

the Clerk of the Court by using the CM/ECF system, which will serve all parties whose

counsel have entered appearances.

                                              /s/ Benjamin J. Gibson




                                         23
